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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                               )
 In re:                                                        )
                                                               )
 SORRENTO THERAPEUTICS, INC., et al.1                          )    Case No. 23-90085 (CML)
                                                               )    (Chapter 11)
                            Debtors.                           )    (Jointly Administered)
                                                               )

                      SCILEX HOLDING COMPANY’S MOTION
              FOR ENTRY OF AN ORDER COMPELLING THE PRODUCTION
          OF BOOKS AND RECORDS FROM CONSOLIDATED AUDIT TRAIL, LLC
                         PURSUANT TO RULE 2004 OF THE
                   FEDERAL RULES OF BANKRUPTCY PROCEDURE

IF YOU OBJECT TO THE RELIEF REQUESTED, YOU MUST RESPOND IN
WRITING. UNLESSOTHERWISE DIRECTED BY THE COURT, YOU MUST FILE
YOUR RESPONSE ELECTRONICALLY AT HTTPS://ECF.TXSB.USCOURTS.GOV/
WITHIN TWENTY-ONE DAYS FROM THE DATE THIS MOTION WAS FILED. IF YOU
DO NOT HAVE ELECTRONIC FILING PRIVILEGES, YOU MUST FILE A WRITTEN
OBJECTION THAT IS ACTUALLY RECEIVED BY THE CLERK WITHIN TWENTY-
ONE DAYS FROM THE DATE THIS MOTION WAS FILED. OTHERWISE, THE
COURT MAY TREAT THE PLEADING ASUNOPPOSED AND GRANT THE RELIEF
REQUESTED.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

TO THE HONORABLE CHRISTOPHER M. LOPEZ, U.S. BANKRUPTCY JUDGE:

          COMES NOW, SCILEX HOLDING COMPANY (“Scilex”), and makes this Scilex

Holding Company’s Motion for Entry of an Order Compelling the Production of Books and

Records from Consolidated Audit Trail, LLC Pursuant to Rule 2004 of the Federal Rules of

Bankruptcy Procedure as follows:




   1  The Debtor entities in these chapter 11 cases, along with the last four digits of each Debtor entity’s federal tax
identification number, are: Sorrento Therapeutics, Inc. (4842) and Scintilla Pharmaceuticals, Inc. (7956). The
Debtors’ service address is: 4955 Directors Place, San Diego, CA 92121.



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                                                  I.

                                        INTRODUCTION

        1. Scilex requests entry of an order compelling Consolidated Audit Trail, LLC (“CAT”),

an affiliate of Financial Industry Regulatory Authority, Inc. (“FINRA”), to produce certain

documents pursuant to Fed. R. Bank. P. 2004.

                                                  II.

                        JURISDICTION, VENUE AND AUTHORITY

        2. This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334(a). Venue

over this matter is proper under 28 U.S.C. § 1408. This Court has the constitutional authority to

enter a final order in this matter, because it is a “core” matter under 28 U.S.C. § 157(b)(2)(A) and

(O). If it is determined that this Court does not have constitutional authority to enter a final order,

the movant consents to entry of a final order with respect to this matter.

                                                 III.

                                         BACKGROUND

        3. On March 31, 2023, Sorrento filed its Debtors’ Emergency Motion for Entry of an

Order Compelling Written Responses From Brokerage Firms Pursuant to Rule 2004 Of The

Federal Rules Of Bankruptcy Procedure (Dkt. No. 330). The Court granted the Debtors relief.

(Dkt. No. 334). On April 11, 2023, the Debtors filed a motion for entry of an amended order

compelling written responses from the Brokerage Firms. (Dkt. No. 394). On April 11, 2023, the

Court entered an amended order compelling the brokers to provide written responses. (Dkt. No.

395).

        4. On April 10, 2023, the Official Committee of Equity Security Holders (the “Equity

Committee”) was appointed. (Dkt. No. 391).




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        5. On May 11, 2023, the Equity Committee filed its Official Committee of Equity

Security Holders’ Emergency Motion Seeking to Compel Certain Brokerage Firms’ Compliance

with Various Regulatory Requirements. (Dkt. No. 594). On May 12, 2023, the Court granted that

motion in part and ordered the Brokerage Firms, including each of the Respondents, to provide

additional information. (Dkt. No. 609).

        6. On June 12, 2023, the Equity Committee commenced an Adversary Proceeding

against Respondents seeking a temporary restraining order, but also made one request for an

accounting for additional information regarding naked short selling of Scilex stock. See Proposed

Order, Temporary Restraining Order (Adv. Dkt. No. 3-1).2 This Court granted two of the six

requests in the TRO, one of which was the request for an accounting. See Temporary Restraining

Order (Dkt. No. 3).

        7. On October 27, 2023, Scilex filed its Scilex Holding Company’s Emergency Motion

for Entry of an Order Compelling the Production of Books and Records from the Brokerage Firms

Pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure (the “Scilex Brokerage

Motion”) (Dkt. No. 1473). The Court set a hearing on the Scilex Brokerage Motion for November

15, 2023. At that hearing, the Court denied the motion as to the brokerage firms without prejudice

but continued the hearing as to the Depository Trust and Clearing Corporation (“DTCC”) and

FINRA to December 18, 2023.

        8. Prior to the continued hearing, Scilex was able to work with both DTCC and FINRA

and arrive at proposed agreed orders for production of documents. (See Dkt. Nos. 1665 and 1666).




   2 References to “Adv. Dkt. No. shall be to the docket entries in Official Committee of Equity Sec. Holders v. Bank
of America Secs. Inc., Case No. 23-90085, Adv. Proc. No. 23-03106 (Bankr. S.D. Tex.)(the “Adversary Proceeding.”)



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In the discussions with FINRA, Scilex learned that certain data is owned by FINRA’s affiliate,

CAT NMS, LLC.

       9. On December 21, 2023, Scilex filed its Scilex Holding Company’s Motion for Entry

of an Order Compelling the Production of Books and Records from CAT NMS, LLC Pursuant to

Rule 2004 of the Federal Rules of Bankruptcy Procedure (Doc. No. 1699). There was no objection

to the motion, and on January 18, 2024, this Court entered an order granting that motion and

compelling the production of documents by CAT NMS, LLC. (Doc. No. 1774). Scilex served a

copy of the order on CAT NMS, LLC. On February 6, 2024, Scilex served a copy of that order

on CAT NMS, LLC, who then responded requesting a telephone conference to discuss the order.

       10. On February 13, 2024, counsel for Scilex and counsel for CAT NMS, LLC held a

video conference. In that conference, Scilex learned that CAT NMS, LLC does not in fact have

possession or custody of the documents; rather, Consolidated Audit Trail, LLC holds and controls

the relevant documents. Counsel for CAT NMS, LLC is also counsel for Consolidated Audit

Trail, LLC and has agreed to accept service of this motion.

       11. The documents that CAT has, that will not be included in the production agreed to by

DTCC and FINRA, are CAT data order reports, execution reports, cancel/replacement reports ,

and quotes (offers to buy or sell) in the IDQS (Inter-Dealer Quotation System) new order reports,

routing reports, desk reports and other data. Those documents will provide information showing

spoofing, warrants, and substantiation of the intent of the brokers.

       12. Scilex’s instant Rule 2004 Motion does not ask the Court to grant these previously-

denied requests or documents that will be produced pursuant to the agreed orders with DTCC and

FINRA.




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                                              IV.

                            ARGUMENT AND AUTHORITIES

       13. Scilex, as a party in interest, has shown good cause for its 2004 examination. The

examination is necessary to determine whether and to what extent the Debtors’ Estate has claims

and causes of action for market manipulation in connection with Scilex shares. “[T]he one seeking

to conduct a 2004 examination has the burden of showing good cause for the examination which

it seeks.” In re Eagle–Picher Industries, Inc., 169 B.R. 130, 134 (Bankr. S.D. Ohio 1994).

“Generally, good cause is shown if the [Rule 2004] examination is necessary to establish the claim

of the party seeking the examination, or if denial of such request would cause the examiner undue

hardship or injustice.” See In re Eagle–Picher Indus., Inc., 169 B.R. 130, 134 (Bankr. S.D. Ohio

1994), as amended No. 1–91–10100, 1994 WL 731628 (Bankr. S.D. Ohio Aug. 2, 1994); see

also, In re Metiom, Inc., 318 B.R. 263, 268 (S.D.N.Y. 2004) (citation omitted); In re Countrywide

Home Loans, Inc., 384 B.R. 373, 393 (Bankr. W.D. Pa. 2008). In re Dinubilo, 177 B.R. 932, 940

(E.D.Cal.1993).

       14. Scilex, as a party in interest, has shown good cause for its 2004 examination. The

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1994), as amended No. 1–91–10100, 1994 WL 731628 (Bankr. S.D. Ohio Aug. 2, 1994); see




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also, In re Metiom, Inc., 318 B.R. 263, 268 (S.D.N.Y. 2004) (citation omitted); In re Countrywide

Home Loans, Inc., 384 B.R. 373, 393 (Bankr. W.D. Pa. 2008). In re Dinubilo, 177 B.R. 932, 940

(E.D.Cal.1993). It is anticipated that the Debtors’ causes of action will potentially give rise to a

damage model in the hundreds of millions of dollars based on the sale of $60 million shares from

Debtors to Scilex on September 21, 2023.3

        15. Any party in interest may move for an order authorizing the examination of any entity

to relate “to the acts, conduct, or property or to the liabilities and financial condition of the debtor,

or to any matter which may affect the administration of the debtor’s estate … [and in Chapter 11

cases to] any other matter relevant to the case or to the formulation of a plan.” Fed. R. Bankr. P.

2004(b). The purpose of a Rule 2004 examination is to assist a party in interest in determining the

nature and extent of the bankruptcy estate, revealing assets, examining transactions, and assessing

whether wrongdoing has occurred. See In re Bennett Funding Group, Inc., 203 B.R. 24, 28 (Bankr.

N.D. N.Y. 1996). The scope of a Rule 2004 examination “is very broad, broader even than

discovery under the Federal Rules of Civil Procedure.” In re Recoton Corp., 307 B.R. 751, 755

(Bankr. S.D. N.Y. 2004). Any third party who has a relationship with a debtor may be made subject

to a Rule 2004 investigation. See Air Line Pilots Assoc., Int’l v. American Nat’l Bank and Trust

Co. of Chicago (In re Ionosphere Clubs, Inc.), 156 B.R. 414, 432 (S.D. N.Y. 1993).

        16. Additionally, contrary to Respondents’ contention, pre-litigation discovery is a

permissible use of Rule 2004. Causes of action are part of a Chapter 11 debtor’s estate’s assets. 11

U.S.C. § 541(a)(1) (estate’s property includes “all legal or equitable interests of the debtor in

property as of the commencement of the case.”). When discovery is conducted under Rule 2004



 3 See https://www.sec.gov/ix?doc=/Archives/edgar/data/0000850261/000110465923103911/tm2326887d1_8k.htm.




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to determine if a cause of action exists, the party seeking that discovery is always conducting “pre-

litigation discovery,” because if the information obtained in the 2004 examination reveals a cause

of action, the debtor will likely bring that cause of action in litigation. The person seeking a Rule

2004 examination is not required to show he will likely prevail in a suit before obtaining the

discovery. In re Symington, 209 B.R. 678, 684 (Bankr. D. Md. 1997).

       17. It is anticipated that the Debtors’ causes of action will potentially give rise to a damage

model in the hundreds of millions of dollars based on the sale of at least $60 million shares from

Debtors to Scilex on September 21, 2023 and other related transactions.4

                                                  V.

                                          CONCLUSION

       18. Based on the reasons set forth herein and in its moving papers, Scilex respectfully seeks

an order from this Court granting the relief requested in its entirety.

DATED:         February, 16, 2024              Respectfully submitted,

                                               THE PROBUS LAW FIRM

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4 See https://www.sec.gov/ix?doc=/Archives/edgar/data/0000850261/000110465923103911/tm2326887d1_8k.htm.




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                                             ATTORNEYS FOR MOVANT,
                                             SCILEX HOLDING COMPANY

                                     Certificate of Service

       I hereby certify that on February 16, 2024, a copy of the foregoing pleading was served via
CM/ECF on all parties registered to receive such notice in the above-captioned cases, all parties
on the attached mailing matrix, and on Consolidated Audit Trail, LLC via its counsel Daniel J.
Martin, via email at Daniel.martin@wilmerhale.com and via United States regular mail, postage
prepaid, first class, at the following addresses:

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                                     /s/ Matthew B. Probus
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